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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 CHARLES M. KUPPERMAN,

                  Plaintiff,

           v.
                                                            No. 19-cv-3224 (RJL)
 UNITED STATES HOUSE OF
      REPRESENTATIVES, et al.,

                  Defendants.


                                            NOTICE

          Defendants the United States House of Representatives, Speaker Nancy Pelosi, Chairman

Adam Schiff, Chairman Eliot Engel, and Acting Chairwoman Carolyn B. Maloney (House

Defendants), through counsel, respectfully submit the attached pages from The Trump-Ukraine

Impeachment Inquiry Report published by the House Permanent Select Committee on

Intelligence in consultation with the House Committees on Oversight and Reform and Foreign

Affairs. House Perm. Select Comm. on Intelligence, The Trump-Ukraine Impeachment Inquiry

Report, https://perma.cc/7APF-Y4EQ.

          As the Committee’s report was referenced by the Court at oral argument, House

Defendants note that, consistent with the representations made by counsel, the report expressly

states that “[a]lthough the Committee will not reissue the subpoena to Dr. Kupperman and the

court case is moot, he could choose to appear on a voluntary basis to assist Congress in the

discharge of its Constitutional responsibilities.” Id. at 281 n.255 (emphasis added) (attached as

Ex. 1).
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                                   Respectfully submitted,

                                   /s/ Douglas N. Letter
                                   Douglas N. Letter (DC Bar No. 253492)
                                       General Counsel
                                   Todd B. Tatelman (VA Bar No. 66008)
                                       Deputy General Counsel
                                   Megan Barbero (MA Bar No. 668854)
                                       Associate General Counsel
                                   Josephine Morse (DC Bar No. 1531317)
                                       Associate General Counsel
                                   Adam A. Grogg (DC Bar No. 1552438)
                                       Assistant General Counsel
                                   William E. Havemann (VA Bar No. 86961)
                                       Assistant General Counsel

                                   OFFICE OF GENERAL COUNSEL
                                   U.S. HOUSE OF REPRESENTATIVES
                                   219 Cannon House Office Building
                                   Washington, DC 20515
                                   Telephone: (202) 225-9700
                                   douglas.letter@mail.house.gov

                                   Counsel for the House Defendants

December 11, 2019




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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


CHARLES M. KUPPERMAN,

           Plaintiff,

     v.
                                             No. 19-cv-3224 (RJL)
UNITED STATES HOUSE OF
     REPRESENTATIVES, et al.,

           Defendants.




                         EXHIBIT 1
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          THE TRUMP-UKRAINE
      IMPEACHMENT INQUIRY REPORT


Report of the House Permanent Select Committee on Intelligence,
        Pursuant to H. Res. 660 in Consultation with the
      House Committee on Oversight and Reform and the
              House Committee on Foreign Affairs


                          December 2019
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         248
             Letter from Steven A. Engel, Assistant Attorney General, Office of Legal Counsel, Department of
Justice, to Pat A. Cipollone, Counsel to the President, The White House (Oct. 25, 2019).
         249
             Letter from Chairman Adam B. Schiff, House Permanent Select Committee on Intelligence, Chairman
Eliot L. Engel, House Committee on Foreign Affairs, and Acting Chairwoman Carolyn B. Maloney, House
Committee on Oversight and Reform, to Charles J. Cooper and Michael W. Kirk, Counsel to Dr. Charles M.
Kupperman, Former Deputy Assistant to the President for National Security Affairs, National Security Council (Oct.
26, 2019).
         250
             Letter from Charles J. Cooper, Counsel to Dr. Charles M. Kupperman, Former Deputy Assistant to the
President for National Security Affairs, National Security Council, to Committee Staff (Oct. 26, 2019).
         251
            Letter from Charles J. Cooper, Counsel to Dr. Charles M. Kupperman, Former Deputy Assistant to the
President for National Security Affairs, National Security Council, to Committee Staff (Oct. 27, 2019).
         252
            Letter from Chairman Eliot L. Engel, House Committee on Foreign Affairs, Chairman Adam B. Schiff,
House Permanent Select Committee on Intelligence, and Acting Chairwoman Carolyn B. Maloney, House
Committee on Oversight and Reform to Charles J. Cooper and Michael W. Kirk, Counsel to Dr. Charles M.
Kupperman, Former Deputy Assistant to the President for National Security Affairs, National Security Council,
(Nov. 5, 2019).
         253
            Letter from Charles J. Cooper, Counsel to Dr. Charles M. Kupperman, Former Deputy Assistant to the
President for National Security Affairs, National Security Council, to Douglas N. Letter, General Counsel, House of
Representatives (Nov. 8, 2019).
         254
             Committee on the Judiciary v. McGahn, Memorandum Opinion (D.D.C. Nov. 25, 2019) (“To make the
point as plain as possible, it is clear to this Court for the reasons explained above that, with respect to senior-level
presidential aides, absolute immunity from compelled congressional process simply does not exist. Indeed, absolute
testimonial immunity for senior-level White House aides appears to be a fiction that has been fastidiously
maintained over time through the force of sheer repetition in OLC opinions, and through accommodations that have
permitted its proponents to avoid having the proposition tested in the crucible of litigation. And because the
contention that a President’s top advisors cannot be subjected to compulsory congressional process simply has no
basis in the law, it does not matter whether such immunity would theoretically be available to only a handful of
presidential aides due to the sensitivity of their positions, or to the entire Executive branch. Nor does it make any
difference whether the aides in question are privy to national security matters, or work solely on domestic issues.”).
As of this report, an appeal is pending in the D.C. Circuit. No. 19-5331 (D.C. Cir.).
         255
             See, Kupperman v. U.S. House of Representatives, et al., No. 19 Civ. 3224 (D.D.C.). As of this report,
the House Defendants’ Motion to Dismiss (Nov. 14, 2019), ECF No. 41, remains pending. Although the Committee
will not reissue the subpoena to Dr. Kupperman and the court case is moot, he could choose to appear on a voluntary
basis to assist Congress in the discharge of its Constitutional responsibilities.
         256
           Letter from Chairman Eliot L. Engel, House Committee on Foreign Affairs, Chairman Adam B. Schiff,
House Permanent Select Committee on Intelligence, and Chairman Elijah E. Cummings, House Committee on
Oversight and Reform, to Acting Director Russell T. Vought, Office of Management and Budget (Oct. 11, 2019).
         257
            Email from Jessica L. Donlon, Deputy General Counsel for Oversight, Office of Management and
Budget, to Committee Staff (Oct. 21, 2019).
          258
              Russell T. Vought, Twitter (Oct. 21, 2019) (online at
https://twitter.com/RussVought45/status/1186276793172578306?s=20).
         259
            Letter from Chairman Eliot L. Engel, House Committee on Foreign Affairs, Chairman Adam B. Schiff,
House Permanent Select Committee on Intelligence, and Acting Chairwoman Carolyn B. Maloney, House
Committee on Oversight and Reform, to Acting Director Russell T. Vought, Office of Management and Budget
(Oct. 25, 2019).
         260
            Letter from Jason A. Yaworske, Associate Director for Legislative Affairs, Office of Management and
Budget, to Chairman Adam B. Schiff, House Permanent Select Committee on Intelligence (Nov. 4, 2019).
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               Vought Dep. Tr. at 10-11.



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